Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 1 of 20 PageID 9161




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION

 JACKSONVILLE BRANCH OF
 THE NAACP, et al.,
     Plaintiffs,
                                              Case No. 3:22-cv-493-MMH-LLL
 v.

 CITY OF JACKSONVILLE, et al.,
      Defendants.
                                        /

           DEFENDANTS’ RESPONSE IN OPPOSITION TO
       PLAINTIFFS’ MOTION TO ORDER SPECIAL ELECTIONS
      FOR DUVAL COUNTY SCHOOL BOARD DISTRICTS 4 AND 6

       For the first time since filing suit in May 2022, Plaintiffs claim that

 Duval County School Board Districts 4 and 6 (SBDs) are racially

 gerrymandered due to boundaries drawn by the City Council in 2011. Doc. 134

 at 4-6 (Motion). They therefore ask the Court order special elections to cure

 this alleged injury. Id. at 1. Plaintiffs, however, lack standing to make this

 request, and in presenting their Motion, invite the Court to disregard the

 jurisdictional boundaries of Art. III, section 2 of the U.S. Constitution. See

 Flast v. Cohen, 392 U.S. 83, 94-95 (1968).      Plaintiffs’ request cannot be

 justified.

       Rather, in an action for which judgment has been entered and the case

 dismissed, see Docs. 131 (Order Approving Settlement), 132 (Final Judgment),

 Plaintiffs now essentially seek to amend their Complaint, add a new claim, and
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 2 of 20 PageID 9162




 obtain immediate relief for the same. This, they cannot do. Plaintiffs have

 never presented the Court with the case and controversy for which they

 presently seek relief, nor do they have standing to do so. Accordingly, Plaintiffs’

 petition for special elections is not necessary, fair, or workable. See North

 Carolina v. Covington, 581 U.S. 486, 488 (2017).                Defendants therefore

 respectfully request the Court deny Plaintiff’s Motion seeking special elections

 for SBDs 4 and 6.

                             MEMORANDUM OF LAW

     I.      BACKGROUND

          On May 3, 2022, Plaintiffs filed suit alleging the City Council, when it

 passed council district lines in March 2022, racially gerrymandered Districts

 2, 7, 8, 9, 10, 12 and 14. Doc. 1 at ¶¶ 261-69 (Complaint). 1 Because SBDs are

 predicated on council lines, Plaintiffs also alleged the March 2022 SBDs 4, 5,

 and 6 were unconstitutional. Id. Plaintiffs therefore requested the Court

 declare the challenged council districts and SBDs unlawful; “preliminarily and

 permanently enjoin Defendants . . . from calling, holding, supervising, or

 certifying any elections in the Challenged Districts as defined” by the March

 2022 lines, id. at 65; and order “Defendants to hold special elections in the

 Challenged Districts as defined [by the March 2022 lines] to limit the harm to



 1Plaintiffs also alleged that the Council drew the district lines in violation of the City
 Charter. See Complaint at ¶¶ 270-277.

                                             2
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 3 of 20 PageID 9163




 Plaintiffs should adequate relief be unavailable prior to the next regularly

 scheduled elections.” Id. (emphasis added).

       On July 22, 2022, Plaintiffs sought preliminary injunctive relief

 requesting the Court enjoin Defendants from using the March 2022 lines in

 future elections pending the Court’s final judgment. Plaintiffs requested that

 in the interim, the Court order Defendants to use a constitutional map, drafted

 either by the Council, or in the alternative, by the Plaintiffs. See Doc. 36 at 1

 (PI Motion); Doc. 39 at 2-3 (Remedial Brief). After briefing and oral argument,

 the Court determined Plaintiffs demonstrated a substantial likelihood of

 success on the merits of their gerrymandering claim, enjoined the City from

 using the March 2022 map, and ordered the Council to draw a remedial plan

 no later than November 8, 2022. Doc. 53 at 137 (PI Order). The Council did

 so, see Doc. 67 (IRP), to which Plaintiffs objected and presented alternative

 maps. See Doc. 92-2 (Remedial Objections). The Court ultimately rejected the

 IRP, and selected Plaintiffs’ proffered P3 map for the March 2023 elections

 (and correspondingly modified SDBs 4 and 6 to reflect this change) pending

 final judgment in this action. Doc. 101 at 58 (Remedial Order).

       The parties later reached a settlement, the terms of which included that

 Defendants adopt P3 “as its redistricting plan for the Jacksonville City Council

 and Duval County School Board district boundaries for the 2020 decennial

 census term.”    Doc. 132-1 at 3 (Court Approved Settlement).        The Court

                                        3
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 4 of 20 PageID 9164




 subsequently entered final judgment in the matter, approving the parties’

 agreement, dismissing the matter, and ordering the Clerk of the Court to close

 the file. Final Judgment at 2-3. The Court nonetheless retained limited

 jurisdiction to enforce the terms of the agreement, and to adjudicate Plaintiffs’

 Motion now before the Court. Id.

        In the instant Motion, Plaintiffs assert they “are suffering immense

 constitutional harm” because SBDs 4 and 6 – and representatives elected to

 those districts in August 2022 – exist pursuant to racially gerrymandered lines

 drawn by the Council in 2011. Motion at 7.2 Accordingly, they ask the Court

 to redeem this harm by ordering special elections in 2024 for SBDs 4 and 6.

        In their Motion, Plaintiffs aptly describe the number of Duval County

 SBDs, how those districts are configured, the length of board member terms,

 and the staggered nature of the election cycle.                     Motion at 3-4.         More

 particularly, should the Court grant Plaintiffs their requested relief, all SBDs

 will be up for election during the 2024 elections, but for SBD2. See Ex. 1. at ¶

 4 (Carney Dec.); See Ex. 2 at ¶19 (Willie Dec.). At present, April Carney is the

 elected representative for SBD2, serving her first term. Carney Dec. at ¶ 2.

 Darryl Willie is the elected representative for SBD4, serving his second term,



 2 Plaintiffs also suggest that the racial gerrymandering existed as early as 1991.      Motion at
 10. It is not entirely clear, therefore, if they are alleging their injury occurred in 1991, 2011,
 or August of 2022. See Doe, as next friend on behalf of Doe #6 v. Swearingen, 51 F.4th 1295,
 1303-07 (11th Cir. 2022) (discussing date of injury for statute of limitations purposes).

                                                 4
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 5 of 20 PageID 9165




 for which he ran unopposed. See Willie Dec. at ¶¶ 2, 6. Finally, Charlotte D.

 Joyce is the elected representative for SBD6, also serving her second term. See

 Ex. 3 at ¶¶ 2-3 (Joyce Dec.).

    II.     RELEVANT LAW

          When a party requests that a court order special elections to remedy a

 racial gerrymandering claim, the court should consider what is necessary, fair,

 and workable. Covington, 581 U.S. at 488. Balancing both individual and

 collective interests, a court should evaluate “the severity and nature of the

 particular constitutional violation, the extent of the likely disruption to the

 ordinary processes of governance if early elections are imposed, and the need

 to act with proper judicial restraint when intruding on state sovereignty.” Id.

          Of equal importance, “[t]he jurisdiction of federal courts is defined and

 limited by Article III of the Constitution,” curtailing the courts’ power to

 address only “cases” and “controversies.” Flast, 392 U.S. at 94–95; see also

 Lujan v. Defs. of Wildlife, 504 U.S. 555, 559 (1992); Bourdon v. U.S. Dep't of

 Homeland Sec., 940 F.3d 537, 546 (11th Cir. 2019); Coker v. Warren, No. 3:22-

 CV-518-MMH-LLL, 2023 WL 2330666, at *2 (M.D. Fla. Mar. 2, 2023).

 “Grounded in ‘concern about the proper—and properly limited—role’ of an

 ‘unelected, unrepresentative judiciary’ in our democratic society,” the case and

 controversy requirement imposes “fundamental limits on federal judicial



                                          5
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 6 of 20 PageID 9166




 power.” Alumni Cruises, LLC v. Carnival Corp., 987 F. Supp. 2d 1290, 1299

 (S.D. Fla. 2013) (citing Allen v. Wright, 468 U.S. 737, 750 (1984)).

       “The requirement that jurisdiction be established as a threshold matter

 springs from the nature and limits of the judicial power of the United States

 and is inflexible and without exception.” Steel Co. v. Cit. for a Better Env't, 523

 U.S. 83, 94-95 (1998) (internal citations and alterations omitted).

       The power of a judicial decree rests neither in the power of the purse nor
       the sword, but in the integrity of its source. The vigilance of the judiciary
       in confining the scope of its authority to the constitutional grant
       embodied in Article III is one aspect of the foundation of that power.

 U.S. v. Bogle, 689 F. Supp. 1121, 1140 (S.D. Fla. 1988). “If jurisdiction is

 absent, then [the courts] are without power to proceed. Indeed, courts have no

 business deciding legal disputes or expounding on law in the absence of such

 a case or controversy.” Diamond State Ins. Co. v. Boys' Home Ass’n, Inc., No.

 3:13-CV-457-J-34PDB, 2014 WL 4626597, at *3 (M.D. Fla. Sept. 16, 2014)

 (internal citations and quotations omitted). “For a court to pronounce upon the

 meaning or the constitutionality of a state or federal law when it has no

 jurisdiction to do so is, by very definition, for a court to act ultra vires.” Steel

 Co. 523 U.S. at 101–02.

       Resting upon the bedrock case and controversy requirement is the

 “irreducible minimum” that a plaintiff also demonstrate standing.                 Valley

 Forge Christian College v. Am. United for Sep. of Church & State, 454 U.S. 464,



                                            6
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 7 of 20 PageID 9167




 472 (1982); Lujan, 504 U.S. at 560-61; Am. C.L. Union of Fla., Inc. v. Dixie

 Cty., Fla., 690 F.3d 1244, 1248 (11th Cir. 2012). Therefore, the plaintiff bears

 the burden of establishing “(1) that he has suffered an actual or threatened

 injury, (2) that the injury is fairly traceable to the challenged conduct of the

 defendant, and (3) that the injury is likely to be redressed by a favorable

 ruling.” Fla. Right to Life, Inc. v. Lamar, 273 F.3d 1318, 1322 (11th Cir. 2001).

       In light of the foregoing, the Court lacks jurisdiction to address Plaintiffs’

 request and their claim lacks merit. As such, it is neither necessary, fair, nor

 workable for the Court to provide Plaintiffs’ requested relief. Covington, 581

 U.S. at 488. For these reasons, the Court should deny Plaintiffs’ Motion.

    III.   ARGUMENT

           A. The Court Does Not Have Jurisdiction to Grant Plaintiffs’
              Requested Relief

       Plaintiffs suggest the lines drawn by the Council in 2011 violate the

 Fourteenth Amendment, and that the August 2022 School Board elections

 under those lines are equally suspect. Motion at 4-6, 7-9. Regardless of

 whether Plaintiffs’ assertions have merit, the Court lacks jurisdiction to grant

 their requested relief.

       The Constitution limits the judicial power of the federal courts to cases

 and controversies. See U.S. CONST., art. III, § 2. This requirement serves to

 “limit the business of federal courts to questions presented in an adversary


                                          7
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 8 of 20 PageID 9168




 context . . . .” Flast, 392 U.S. at 95 (emphasis added). Without a presented

 case or controversy a court lacks power to act, and proceeding otherwise

 violates the Constitution. See Steel Co., 523 U.S. at 94–95, 101-02; Diamond

 State Ins. Co., 2014 WL 4626597 at *3; Bogle, 689 F. Supp. at 1140. By asking

 the Court to redeem injuries Plaintiffs allege relate to district lines drawn in

 2011, Plaintiffs request the Court to proceed unconstitutionally and to act ultra

 vires. Steel Co., 523 U.S. at 101–02.

       At no point in this litigation – until now – have Plaintiffs presented a

 claim that they are seeking relief for injuries associated with the 2011 lines or

 the August 2022 School Board elections. Plaintiffs were aware however, of

 City election cycles and which lines would be used for which elections. PI

 Motion at 2, n.3; PI Order at 126 n. 68. They nonetheless have never contended

 that the August 2022 elections were problematic. While Plaintiffs did raise

 arguments in their PI Motion regarding the legality of prior redistricting

 cycles, they did so to counter Defendants’ defense that the 2022 lines were

 drawn for the purposes of “core preservation,” rather than to assert a claim of

 injury in and of itself. See PI Motion at 6, 15-16; Doc. 43 at 3, 10 (PI Reply).

       Likewise, at no point have Plaintiffs presented the Court with an

 opportunity to issue a ruling that the 2011 district lines were unconstitutional.

 Of course, the Plaintiffs’ argument for preliminary injunctive relief, and the

 Court’s granting of the same, relied in part, on past redistricting processes,

                                         8
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 9 of 20 PageID 9169




 including that from 2011. See PI Motion at 6, 15-16; PI Reply at 3, 10; PI Order

 at 23-28, 102-03, 107-08. However, the Court, in citing to and examining that

 history, did not issue a legal ruling regarding the 2011 lines. Certainly, the

 Court sharply critiqued the 2011 process, PI Order at 23-28, 102-03, 107-08,

 but it qualified its comments, noting it considered the “2011 historical evidence

 only to the extent it gives rise to inferences regarding the intent of the City

 Council in 2022.” Id. at 104; see also id. at 100, 103. In issuing relief to

 Plaintiffs, the Court indicated its focus was on a “new harm – the maps enacted

 in 2022, and the harms posed by those maps” if used in the March 2023

 elections. Id. at 129. Plaintiffs, therefore, have not presented the Court with

 a case and controversy regarding the 2011 lines, nor should the Court entertain

 those claims now. Steel Co., 523 U.S. at 94–95, 101-02; Flast, 392 U.S. at 95;

 Diamond State Ins. Co., 2014 WL 4626597 at *3; Bogle, 689 F. Supp. at 1140.

       Plaintiffs also lack standing to request the Court order special elections.

 Fla. Right to Life, Inc., 273 F.3d at 1322 (detailing standing elements). As

 relevant here, the redressability requirement of standing asks “whether the

 injury that a plaintiff alleges is likely to be redressed through the litigation.”

 Falls v. DeSantis, 609 F. Supp. 3d 1273, 1282–83 (N.D. Fla. 2022) (citations

 omitted). Courts must be able to “ascertain from the record whether the relief

 requested is likely to redress the alleged injury,” and if not, courts lack

 “jurisdiction to entertain the” request.     Hollywood Mobile Estates Ltd. v.

                                         9
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 10 of 20 PageID 9170




  Seminole Tribe of Fla., 641 F.3d 1259, 1266 (11th Cir. 2011). See also Lewis v.

  Gov. of Ala., 944 F.3d 1287, 1301 (11th Cir. 2019); I.L. v. Ala., 739 F.3d 1273,

  1281 (11th Cir. 2014). Plaintiffs’ Complaint does not indicate special elections

  for SBDs 4 and 6 will cure the underlying injury for which they sought relief.

        Plaintiffs’ Complaint focused on the March 2022 redistricting cycle and

  elections that might occur under the map produced in that process, specifically

  in March 2023. In particular, Count I alleged the Council, when enacting the

  March 2022 district lines, violated the Fourteenth Amendment by racially

  gerrymandering Districts 2, 7, 8, 9, 10, 12 and 14. Complaint at ¶¶ 261-269.

  As a result, SBDs 4, 5, and 6, also represented racial gerrymanders. Plaintiffs

  asked the Court to declare the challenged districts unlawful, enjoin Defendants

  from using the March 2022 map, and if adequate relief was not otherwise

  available, hold special elections in the challenged districts. Id. at 65.

        Plaintiffs now belatedly ask the Court to order special elections for SBDs

  4 and 6. Special elections, however, will not redress the injury alleged in their

  Complaint. See generally Lewis, 944 F.3d at 1301; I.L., 739 F.3d at 1281;

  Hollywood Mobile Estates Ltd., 641 F.3d at 1266. The Complaint focused on

  injuries resulting from the March 2022 lines, and sought to ensure those lines

  were not used in future Jacksonville elections. Complaint at ¶¶ 261-69; PI

  Motion at 1; Remedial Brief at 2-3.          Hence, whatever injuries Plaintiffs

  presently raise regarding the 2011 lines or the August 2022 elections that

                                          10
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 11 of 20 PageID 9171




  occurred thereunder, those harms were not caused by the map the Council

  drew in March of 2022. No elections have occurred under that map.

         Indeed, Plaintiffs obtained remedies curing the injuries alleged in the

  Complaint as related to the March 2022 map. The Court declared that map

  unconstitutional, enjoined the Defendants from holding elections pursuant to

  the lines contained therein, and ordered the Defendants to use a different map

  pending final judgment. 3 See PI order at 137; Remedial Order at 58. Likewise,

  the Court approved the parties’ settlement adopting P3 as the district map. See

  Order Approving Settlement; Final Judgment.

         The relief Plaintiffs request in the instant Motion is not aligned to cure

  the harms alleged in their Complaint. Lewis, 944 F.3d at 1305 (“Plaintiffs

  cannot demonstrate that the relief they seek would . . . . significantly increase

  the likelihood” of redressing their asserted injury): I.L., 739 F.3d at 1281 (“we

  must consider the requested relief in the context of the injury that it purports

  to redress”). Rather, Plaintiffs’ remedy addresses their newly asserted injuries

  associated with the 2022 elections and the 2011 lines. The relevant harm

  before the Court, however, is the racial gerrymandering claim associated with

  the Council’s March 2022 district lines, a harm that has been redressed.



  3 In their Complaint, Plaintiffs did include a prayer for special elections. However, that
  request was conditional “should adequate relief be unavailable prior to the next regularly
  scheduled elections.” Complaint at 65. Because Plaintiffs obtained adequate relief in the
  preliminary injunction proceedings, there was no need for special elections.

                                               11
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 12 of 20 PageID 9172




         Plaintiffs have not presented the Court with a case and controversy to

  address the harms raised in their Motion. Nor do they have standing to seek

  the relief requested therein. It the absence of the constitutionally required

  jurisdiction to entertain Plaintiffs’ newly raised claims, it is not necessary, fair,

  or workable for the Court to consider their request. Covington, 581 U.S. at

  488. The Court should therefore deny Plaintiffs’ Motion. 4

            B. Plaintiffs Cannot Raise a New Claim in the Motion

         On May 30, 2023, the Court entered judgment dismissing this case

  pursuant to Federal Rule of Civil Procedure 41(a)(2). See Order Approving

  Settlement; Final Judgment. Plaintiffs now appear to ask the Court to reopen

  the case so they can assert a new claim against Defendants and seek relief.

  Plaintiffs, however, have not articulated grounds to warrant such action.

         Courts consistently hold that should a plaintiff seek to assert new legal

  claims or theories against a defendant, the plaintiff must do so in an amended

  complaint, rather than in responsive motions or other filings. See, e.g., First

  English Evan. Lutheran Church of Glendale v. Cty. of Los Angeles, 482 U.S.

  304, 313 n.7 (1987); E.E.O.C. v. Catastrophe Mgmt. Sols., 852 F.3d 1018, 1030

  n.5 (11th Cir. 2016); Herring v. Sec’y Dep’t of Corr., 397 F.3d 1338, 1342 (11th



  4 When the Court approved the parties’ settlement agreement, neither the Court nor
  Defendants knew the legal basis of Plaintiffs’ request for special elections. The Court’s
  reservation of jurisdiction to address Plaintiffs’ Motion cannot cure that Plaintiffs’ current
  request places the Court outside the Constitution’s jurisdictional limits.

                                               12
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 13 of 20 PageID 9173




  Cir. 2005); LeBlanc v Unifund CCR Partners, G.P., 552 F. Supp. 2d 1327, 1336

  n.6 (M.D. Fla. 2008). Plaintiffs have presented nothing to the contrary. 5

         Nor have Plaintiffs suggested that the Federal Rules provide them with

  the means to re-open this otherwise closed case so that they could assert a new

  claim against Defendants and seek additional relief. See, e.g., Arthur v. King,

  500 F.3d 1335, 1343 (11th Cir. 2007) (“[A] Rule 59(e) motion [cannot be used]

  to relitigate old matters, raise argument or present evidence that could have

  been raised prior to the entry of judgment.”); FED. R. CIV. P. 59(e) (“A motion

  to alter or amend a judgment must be filed no later than 28 days after the entry

  of the judgment); FED. R. CIV. P. 60(b) (detailing grounds for which a party may

  seek relief from a judgment or order). Hence, the Court should reject Plaintiffs’

  attempt to amend their Complaint.

             C. Plaintiffs’ Request for Relief Cannot Succeed on the Merits

         Even if considered on the merits, the Court should reject Plaintiffs’

  Motion. Stemming from the arguments above, see supra § III.A, Plaintiffs have

  not properly presented this Court with the opportunity to evaluate “the

  severity and nature of the particular constitutional violation” raised in their



  5 Plaintiffs’ delayed attempt to add a new claim to their action may also be subject to laches.

  See, e.g., Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs, 781 F.3d 1271, 1283
  (11th Cir. 2015) (discussing laches defense); see also White v. Daniel, 909 F.2d 99, 102-03 (4th
  Cir. 1990) (accepting laches argument in redistricting litigation); Fouts v. Harris, 88 F. Supp.
  2d 1351, 1353-56 (S.D. Fla. 1999) (same); Lopez v. Hale Cty., Tex., 797 F. Supp. 547, 550 (N.D.
  Tex. 1992) (same).

                                                13
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 14 of 20 PageID 9174




  Motion. Covington, 581 U.S. at 488. Plaintiffs have neither presented the

  Court with case and controversy at issue in their Motion, nor do they have

  standing to seek the relief they are presently requesting from the Court. See

  supra § III.A. Accordingly, in the instant procedural posture, the Court has

  not been presented with a constitutional violation to evaluate. Additionally,

  Plaintiffs’ request for special elections will disrupt the ordinary processes of

  municipal governance, engender voter confusion, and infringe upon the City’s

  sovereignty. See generally Covington, 581 U.S. at 488.

        The Duval County School Board (Board) will suffer disruption should the

  Court grant Plaintiffs’ request. The Board completes its core work during the

  summer months to prepare for the new school year. It meets multiple times a

  month, updating and executing relevant contracts, making curriculum

  changes, and formulating district wide budgets. This work requires Board

  members to spend significant time preparing and reviewing materials. See

  Carney Dec. at ¶¶ 7-8; Willie Dec. at ¶ 13; Joyce Dec. at ¶¶ 8-9.

        If the Court orders special elections for SBDs 4 and 6 to coincide in 2024

  with the regularly scheduled elections for SBDs 1, 3, 5, and 7, potentially all

  but one Board seat will be up for election. See Carney Dec. at ¶¶ 2, 6. Hence,

  during the period when the Board is engaged in some of its most vital

  preparation for the impending school year, a majority of its members must split

  their time between Board and campaign duties. See Carney Dec. at ¶ 10; Willie

                                        14
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 15 of 20 PageID 9175




  Dec. at ¶¶ 13-14; Joyce Dec. at ¶¶ 8-9.        Moreover, campaigning for office is

  expensive and time-consuming. See Carney Dec. at ¶ 9; Willie Dec. at ¶ 13;

  Joyce Dec. at ¶¶ 10-14. It takes Board members away from the time they would

  otherwise spend preparing for meetings, and undermines their ability to

  respond timely and efficiently to constituents. See Carney Dec. at ¶ 9; Willie

  Dec. at ¶¶ 13-14; Joyce Dec. at ¶ 20.

        Pursuant to the Florida Constitution, Board members serve staggered

  terms.   See FLA. CONST. art. 9, § 4(a).       This structure serves, in part, to

  safeguard consistency in leadership, preserve institutional knowledge, and

  ensure the Board can address the issues before it, even while some of its

  members must spend time seeking reelection. See In re Apport. Law SJR 1E,

  414 So. 2d 1040, 1054 (Fla. 1982) (Boyd J., concurring); Willie Dec. at ¶ 18.

  Plaintiffs’ proposal could violate this constitutional mandate. Special elections

  could disrupt the work of the Board, as a majority of its members will be

  campaigning during the summer of 2024.                 A special election would

  unnecessarily take Board members away from their work, while also

  potentially threatening to disrupt the consistency in leadership fostered by

  staggered terms and violate the Florida Constitution. Ultimately, the Board’s

  services to the City’s near 127,000 students, their parents, and the entire

  citizenry of Jacksonville, could be compromised. See Carney Dec. at ¶ 10;

  Willie Dec. at ¶¶ 3, 20; Joyce Dec. at ¶ 21.

                                          15
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 16 of 20 PageID 9176




        Plaintiffs also assert that special elections occurring over fourteen

  months from now will minimize intrusion into government functions. Motion

  at 12. Defendants reject how Plaintiffs frame this incursion. Rather, Plaintiffs

  are essentially asking the Court to undo the August 2022 elections; strip voters

  of the representatives they picked in an unchallenged selection process; and

  force two duly elected representatives to run again for seats they already won.

  Other courts have rejected similar redistricting challenges. See, e.g. White, 909

  F.2d at 102-03; Fouts, 88 F. Supp. 2d at 1353-56; Lopez, 797 F. Supp. at 550.

        Special elections would also disrupt the Supervisor of Elections (SOE).

  Should the SOE have to add a special election in 2024, staff members will have

  to enter additional data into the election management system and ensure that

  the ballot styles for the relevant precincts accurately include the additional

  races. See Ex. 4 at ¶¶ 5-10 (Gicalone Dec.). Additionally, placing extra names

  on the ballot style as a result of a special election may increase the ballot to an

  additional page, costing up to $200,000. See Gicalone Dec. at ¶¶ 11-19.

        Similarly, special elections will cause voter confusion. Informed voters

  who participated in the August 2022 elections likely understood they were

  selecting a Board member for a four-year term. Hence, in 2024 voters may

  legitimately wonder why they must vote again. Likewise, residents in SBD2

  may query why, unlike the rest of the City, they are not voting for a Board

  member. Moreover, Willie and Joyce note that had they known they would

                                          16
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 17 of 20 PageID 9177




  have to run again in 2024, they would have campaigned differently in 2022,

  educating their constituents to expect them to return to make the case for why

  they should be entitled to fulfill the entirety of their terms. See Willie Dec. at

  ¶¶ 15-17; Joyce Dec. at ¶ 14-19.             They now, however, face the prospect of

  revisiting those constituents, and explaining why, even after having duly won

  their seats, they must again ask for support. See Willie Dec. at ¶¶ 15-17; Joyce

  Dec. at ¶ ¶ 14-19. 6

         Plaintiffs’ disenfranchisement argument is a distraction. Motion at 13-

  15. Temporary disenfranchisement following redistricting, in and of itself,

  does not constitute an injury warranting court intervention, and is often a

  natural consequence of the redistricting process. See, e.g., Repub. Party of

  Oregon v. Keisling, 959 F.2d 144, 145-56 (9th Cir. 1992); Rice v. Williams, No.

  6:06-cv-341, 2007 WL 2064695, at *9 (E.D. Tex. July 17, 2007); Farrell v. State

  of Okla., ex rel. Hall, 339 F.Supp. 73, 82 (W.D. Okla. 1972); Pate v. El Paso

  Cty., Tex., 337 F. Supp. 95, 96 (W.D. Tex. 1970).



  6 It is not entirely settled, whether, pursuant to Board of Regents v. Roth, 408 U.S. 564 (1972),

  Florida law creates in elected officials a property interest entitled to due process protections.
  The Florida Supreme Court has held that while “a public office is a public trust, . . . the
  incumbent has to some extent a recognizable property right in it.” State v. Tedder, 143 So.
  148, 150-51 (Fla. 1932). While that holding has been subject to judicial questioning, see Israel
  v. DeSantis, No. 4:19-cv576, 2020 WL 2129450, at *9 (N.D. Fla. May 5, 2020), Tedder remains
  controlling law in Florida. But see Coker, 2023 WL 2330666 (M.D. Fla. 2023). Regardless of
  the unsettled nature of this matter, Plaintiffs’ requested remedy requires that two duly
  elected Board members must now re-run for seats they otherwise won in an election that has
  never been challenged. It additionally may impact the rights of two individuals who are not
  a party to this litigation.

                                                 17
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 18 of 20 PageID 9178




        Equally distracting is Plaintiffs’ suggestion that special elections are

  appropriate because Florida voters are familiar with truncated terms. Motion

  at 13-15. The State of Florida constitutionally mandates that senatorial terms

  will be truncated and subject to re-election following the redistricting process.

  See FLA. CONST. art. 3, § 15(a); In re Apport. Law, SJR 1176, 83 So.3d 597, 658-

  59 (Fla. 2012); In re Apport. Law SJR IE, 414 So.2d at 1048-49. The Florida

  Constitution, however, is silent regarding school board members. See FLA.

  CONST. art. 9, § 4(a). In the midst of that silence, the Jacksonville City Charter

  and Ordinance Code detail that following redistricting, new lines will only be

  applied to School Board elections which occur “at least nine months after the

  redistricting.” JACKSONVILLE ORD. CODE § 18.110; § 13.03 JACKS. CHARTER.

  Likewise, the Charter details the appropriate circumstances for SBD special

  elections, and does not reference special elections after redistricting. § 13.05

  JACKS. CHARTER. See also Club Madonna Inc. v. City of Miami Beach, 42 F.4th

  1231, 1257-58 (11th Cir. 2022) (discussing when local ordinances are not

  preempted by state law); D'Agastino v. City of Miami, 220 So.3d 410, 420-23

  (Fla. 2017) (same). Hence, while Florida voters may be familiar with truncated

  terms for their senators, that familiarity is not sufficient to justify the Court,

  in the absence of a properly presented case and controversy before it, to

  command the City to violate the terms of its Charter and Ordinance Code.

  Doing so would not only confuse the voters, but also unduly infringe upon the

                                         18
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 19 of 20 PageID 9179




  City’s sovereignty. See generally Covington v. North Carolina, 270 F. Supp. 3d

  881, 894-896 (M.D. N.C. 2017).

        Finally, much of Plaintiffs’ cited case law, while accurate for the broad

  propositions asserted, is misapplied.        Defendants do not contest that

  “individuals . . . whose constitutional rights have been injured by improper

  racial gerrymandering have suffered significant harm.         Those citizens are

  entitled to vote as soon as possible for their representatives under a

  constitutional apportionment plan.” Motion at 1 (citing cases). However, in

  many of those cited cases, the courts did not order special elections. Neither

  should this Court. Likewise, special elections can certainly be an appropriate

  remedy for racially gerrymandered districts. See Motion at 18. However, in

  the cases cited by Plaintiffs, courts ordered special elections to remedy harms

  properly presented to those judicial bodies in accordance with the Case and

  Controversy requirements of Art. III of the Constitution. Not so here.

     IV.   CONCLUSION

        Plaintiffs ask the Court to act without jurisdiction and in violation of the

  foundational boundaries laid out in the Constitution.          They have never

  presented the Court with the specific case and controversy for which they now

  seek relief, and lack standing to request the Court to issue special elections for

  SBDs 4 and 6. Nor does their substantive case have merit.



                                         19
Case 3:22-cv-00493-MMH-LLL Document 137 Filed 07/28/23 Page 20 of 20 PageID 9180




        For the foregoing reasons, Defendants respectfully request the Court to

  DENY Plaintiffs’ Motion.

        Respectfully submitted this 28th day of July, 2023.


HOLTZMAN VOGEL BARAN                         OFFICE OF GENERAL COUNSEL
TORCHINSKY & JOSEFIAK                        CITY OF JACKSONVILLE

Mohammad O. Jazil (FBN 72556)                /s/ Mary Margaret Giannini
mjazil@holtzmanvogel.com                     Mary Margaret Giannini
zbennington@holtzmanvogel.com                Assistant General Counsel
Michael Beato (FBN 1017715)                  Florida Bar No. 1005572
mbeato@holtzmanvogel.com                     MGiannini@coj.net; SStevison@coj.net
zbennington@holtzmanvogel.com                Helen Peacock Roberson
119 South Monroe Street, Suite 500           Assistant General Counsel
Tallahassee, FL 32301                        Florida Bar No.: 0016196
(850) 270-5938                               HRoberson@coj.net;
                                             CStephenson@coj.net
Jason Torchinsky (Va. BN 47481)              117 West Duval Street, Suite 480
(D.C. BN 976033)                             Jacksonville, FL 32202
jtorchinsky@holtzmanvogel.com                Phone: (904) 255-5100
HOLTZMAN VOGEL BARAN                         Facsimile: (904) 255-5120
TORCHINSKY & JOSEFIAK
15405 John Marshall Hwy
Haymarket, VA 20169
(540) 341-8808

  Attorneys for Defendants, City of Jacksonville and Mike Hogan, in his official
                capacity as Duval County Supervisor of Elections

                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 28th day of July, 2023, a copy of this
  document was filed electronically through the CM/ECF system and furnished
  by email to all counsel of record.
                                                 /s/ Mary Margaret Giannini
                                                       Counsel for Defendant




                                        20
